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                           UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA




Aim High Investment Group LLC,
                                                    DEFAULT JUDGMENT
                      Plaintiff,
       v.                                           Case Number 2:22-cv-00158-GMN-DJA

Spectrum Laboratories, LLC,

                      Defendants.

__________________________________
Spectrum Laboratories, LLC,

                      Cross-Claimant,

      v.

Aim High Investment Group LLC,

                      Cross-Defendant.

__________________________________


       It appearing from the records in the above entitled action on the Crossclaim dated 3/14/2022 has been

regularly served upon the Cross-Defendant herein named; and it appearing from the records herein that each

of said Cross-Defendant has failed to plead or otherwise defend in said action as required by and provided by

the Federal Rules of Civil Procedure,
            Case 2:22-cv-00158-GMN-DJA
                 2:14-cv-00869-GMN-DJA Document 132
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       Now, therefore, on Order of the Court, the DEFAULT, as aforesaid, of each of the following Cross-

Defendant, Aim High Investment Group LLC, in the above-entitled action is hereby entered.




       Date: September 20, 2024                           DEBRA K. KEMPI
                                                              Clerk


                                                                 /s/ R. Gador
                                                                 Deputy Clerk
